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  16   Agency, Inc.
  17                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  18
       ENTTECH MEDIA GROUP LLC,               Case No.: 2:20-cv-06298 RGK (Ex)
  19                                          Hon. R. Gary Klausner
                     Plaintiffs,
  20                                           DEFENDANTS’ JOINT
             v.                                MEMORANDUM OF POINTS &
  21                                           AUTHORITIES IN SUPPORT OF
       OKULARITY, INC.; JON NICOLINI;          MOTION FOR SANCTIONS
  22   BACKGRID USA, INC.; SPLASH
       NEWS AND PICTURE AGENCY,                Date:      October 26, 2020
  23                                           Time:      9:00 a.m.
       LLC; AND XPOSURE PHOTO                  Place:     TBD
  24   AGENCY, INC.
                                               Compl. filed:     July 15, 2020
  25                 Defendants.               No Trial Date Set
  26
  27
  28

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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.    INTRODUCTION
   3         Defendants Okularity, Inc., Jon Nicolini, Backgrid USA, Inc., Splash News
   4   and Picture Agency LLC, and Xposure Photo Agency Inc., (collectively
   5   “Defendants”) take no pleasure in bringing a motion for sanctions against plaintiffs’
   6   counsel, Robert Tauler and his firm Tauler Smith LLP (collectively “Tauler”).
   7   Defendants are forced to bring this motion because the First Amended Complaint
   8   runs afoul of Rule 11 in that many of the key facts supporting the claims run
   9   contrary to information provided to ENTtech, making the claims unwarranted and
  10   frivolous. In addition, the First Amended Complaint was brought for an improper
  11   purpose: to gain leverage in the infringement claim which was brought against
  12   ENTtech and in the pursuit of de-suspending ENTtech’s Instagram account after it
  13   violated Instagram’s Terms of Use.1,2
  14         Defendants have been accused of “scheming” to take down ENTtech’s
  15   Instagram account by making material misrepresentations in DMCA notices they
  16   issued to Instagram. Defendants did nothing of the sort. The Instagram account was
  17   taken down because ENTtech violated Instagram’s Terms of Use, which includes a
  18   repeat infringer policy; ENTtech was a repeat infringer according to Instagram.3
  19   ENTtech’s gripe should lie not with Defendants, but with Congress for passing the
  20   DMCA, as Instagram did precisely what was required to reap the benefits of the
  21   DMCA safe harbor.
  22         ENTtech and Tauler never had a good faith basis to bring the DMCA
  23   misrepresentation and RICO claims in this action. Tauler has been aware of the facts
  24
  25
       1
         The initial Complaint also ran afoul of Rule 11, but this motion focuses on the First
  26   Amended Complaint.
  27   2
         Backgrid et al., v. ENTtech, 2:20-cv-06803-RSWL-RAO.
  28
       3
         An internet service provider, like Instagram, is required to have repeat infringer
       policy under 17 U.S.C. § 512(i), to take advantage of the DMCA safe harbor.
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   1   negating the allegations at issue in this motion before the initial Complaint was filed.
   2   Indeed, Okularity, Nicolini, and their counsel provided a substantial amount of
   3   information to Tauler and ENTtech informing Tauler that his allegations ran afoul of
   4   Rule 11 and that they needed to be investigated further. (See Nicolini Decl., ¶¶ 7, 8,
   5   Ex. B, C; see also Perkowski Decl., Ex. A.) The information provided to him by
   6   Okularity was accurate. Tauler simply disregarded the information provided to him
   7   and pursued frivolous claims, without any reasonable or competent inquiry or basis
   8   in fact. Tauler had no basis to say that Defendants “schemed” or engaged in an
   9   enterprise of criminal activity to take down ENTtech’s Instagram account.
  10   Defendants simply followed the DMCA.4 Defendants also served a Rule 11 letter,
  11   which was also ignored by Tauler. (See Perkowski Decl., Ex. A.)
  12   II.   BACKGROUND FACTS
  13         A.     Okularity’s Services for the Photo Agencies
  14         BackGrid USA, Inc., Splash News and Picture Agency, LLC, and Xposure
  15   Photo Agency Inc. (each a “Photo Agency” and collectively the “Photo Agencies”)
  16   license photo and video content to their customers, including to many of the largest
  17   media outlets in the world. Because the Photo Agencies rely on licensing fees from
  18   customers, having the same content available unlicensed and widely distributed
  19   threatens the Photo Agencies’ entire business model. (Nicolini Decl. ¶ 3.) To guard
  20   against this, the Photo Agencies contract with Okularity to search for unauthorized
  21   uses of images from the Photo Agencies’ libraries, among other services, including
  22   the issuing of Digital Millennium Copyright Act (“DMCA”) takedown notices. (Id.)
  23         Okularity’s CEO Jon Nicolini handles all DMCA takedown notices that are
  24   sent on behalf of the Photo Agencies, including those issued to Instagram related to
  25   the ENTtech Instagram account. As Nicolini explained to ENTtech’s counsel,
  26
  27   4
         Tauler was called out in another opinion for filing a RICO claim for an improper purpose.
       It appears the lesson has not been learned. See Tauler Smith LLC v. Valerio, 20-cv-00458 AB
  28   (ASx), 2020 WL 1921789 (C.D. Cal. Mar. 6, 2020).
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   1   Robert Tauler, before the FAC was filed, each infringement was reviewed for fair
   2   use prior to Nicolini issuing a DMCA notice to Instagram. (Nicolini Decl. ¶¶ 6, 7.)
   3         B.        ENTtech’s Infringements
   4         The claims in this matter arise out of Okularity’s actions concerning plaintiff
   5   ENTtech’s unauthorized use of 34 photographs belonging to the Photo Agencies,
   6   which ENTtech caused to be uploaded onto ENTtech’s Instagram account. Over a
   7   period of about a month, Nicolini caused to be sent to Instagram DMCA takedown
   8   notices as directed to the ENTtech account. (Nicolini Decl. ¶ 5.) In addition, before
   9   sending each of the 35 DMCA takedown notices, Nicolini considered whether
  10   ENTtech’s uses may be fair use. He concluded that fair use did not apply to any of
  11   the 34 instances of infringements by ENTtech. (Nicolini Decl. ¶ 6.) None of the 35
  12   DMCA takedown notices at issue here were sent to Instagram by a fully automated
  13   system. (Id.)
  14         Tauler spoke with Nicolini before he filed this lawsuit. During those
  15   discussions, Nicolini told Tauler that Nicolini personally reviewed each
  16   infringement for fair use prior to issuing a DMCA takedown notice and further that
  17   the takedown notices were not issued by a fully automated process. (Nicolini Decl.
  18   ¶¶ 6, 7.) He also discussed the spreadsheet detailing information about the
  19   infringement that he had sent to ENTtech earlier.5 (Nicolini Decl. ¶ 8, Ex. B.)
  20         Tauler also had information from Instagram about the infringement. This is
  21   known to be true because Tauler himself filed counternotifications that he personally
  22   signed under penalty of perjury, where he contended the DMCA notices issued by
  23   Okularity were issued because of a “mistake or misidentification.” 6 (Nicolini Decl.
  24
  25   5
         Tauler has no non-frivolous basis to claim that ENTtech’s infringement was fair use.
       Significantly, he did not allege the same in the First Amended Complaint, which
  26   failure is one of the bases for Defendants’ 12(b)(6) motion.
       6
         See 17 U.S.C. § 512(g)(3). Defendants cannot contemplate a non-frivolous
  27   justification for declaring that the takedowns were issued as a result of “mistake” or
       “misidentification.” This declaration is significant. Under the DMCA, if Defendants
  28   had not filed suit on the infringements within 10 business days, then Instagram would
                                              3
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   1   Ex. D.) Instagram is required to notify a user, such as ENTtech, when content is
   2   removed or disabled. See 17 U.S.C. §§ 512(g)(1), (g)(2)(A).
   3   III.   LEGAL STANDARD
   4          A.    Standard for Rule 11 Sanctions
   5          When an attorney “present[s] to the court … a pleading, … [the] attorney …
   6   certifies that to the best of the person’s knowledge, information, and belief, formed
   7   after an inquiry reasonable under the circumstances, … the factual contentions have
   8   evidentiary support.” Fed. R. Civ. P. 11(b)(3). The “heart of Rule 11” is the message
   9   conveyed by the signer’s certification that he “has conducted a reasonable inquiry
  10   into the facts and the law and is satisfied that the document is well grounded in
  11   both.” Bus. Guides, Inc. v. Chromatic Commc’n Enters., Inc., 498 U.S. 533, 542,
  12   111 S. Ct. 922, 112 L. Ed. 2d 1140 (1991). “An attorney’s signature on a complaint
  13   is tantamount to a warranty that the complaint is well grounded in fact … .”
  14   Christian v. Mattel, Inc., 286 F.3d 1118, 1127 (9th Cir. 2002). The “central purpose
  15   of Rule 11 is to deter baseless filings” by imposing a duty on attorneys to certify that
  16   they have “conducted a reasonable inquiry and have determined that any papers filed
  17   with the court are well grounded in fact [and] legally tenable.” Cooter & Gell v.
  18   Hartmarx Corp., 496 U.S. 384, 393, 110 S. Ct. 2447, 110 L. Ed. 2d 359 (1990)
  19   (partially superseded, on other grounds, by 1993 Rule 11 amendment).
  20          “District courts have broad discretion to sanction a party or attorney under
  21   Rule 11.” Certified Nutraceuticals, Inc. v. Avicenna Nutraceutical, LLC., 3:16-cv-
  22   02810-BEN-bgs, 2018 WL 4385368, at * 3 (S.D. Cal. Sept. 14, 2018) (citing
  23   DeMarco v. Depotech Corp., 131 F. Supp. 2d 1185, 1186 (S.D. Cal. 2001), Cooter
  24   & Gell, 496 U.S. at 385, and Barber v. Miller, 146 F.3d 707, 709 (9th Cir. 1998)).
  25   “Federal Rule of Civil Procedure 11 provides for the imposition of sanctions when a
  26
  27   put the ENTtech Instagram account back up. 17 U.S.C. § 512(g)(2). As such, this
       perjurious counternotification would have resulted in the re-instatement of the
  28   Account if the Agencies did not take prompt action.
                                           4
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   1   filing is frivolous, legally unreasonable, or without factual foundation, or is brought
   2   for an improper purpose.” Estate of Blue v. Cnty. of Los Angeles, 120 F.3d 982, 985
   3   (9th Cir. 1997) (citing Simpson v. Lear Astronics Corp., 77 F.3d 1170 (9th Cir.
   4   1996)). “Frivolous filings are ‘those that are both baseless and made without a
   5   reasonable and competent inquiry.’” Id; Holgate v. Baldwin, 425 F.3d 671, 677 (9th
   6   Cir. 2005) (finding that a single frivolous claim was sufficient for Rule 11
   7   sanctions).
   8         When a complaint is the subject of a Rule 11 inquiry, the Court “must conduct
   9   a two-prong inquiry to determine (1) whether the complaint is legally or factually
  10   baseless from an objective perspective, and (2) if the attorney has conducted a
  11   reasonable and competent inquiry before signing and filing it.” Holgate v. Baldwin,
  12   425 F.3d 671, 676 (9th Cir. 2005) (quoting Christian, 286 F.3d at 1127); see also
  13   Montrose Chem. Corp. v. Am. Motorists Ins. Co., 117 F.3d 1128, 1133 (9th Cir.
  14   1997). Subjective bad faith is not required; rather, the standard is objective
  15   reasonableness. See, e.g., G.C. & K.B. Invs., Inc. v. Wilson, 326 F.3d 1096, 1109
  16   (9th Cir. 2003). Unreasonableness is viewed “from the perspective of a competent
  17   attorney admitted to practice before the district court.” Moser v. Bret Harte Union
  18   High School Dist., 366 F. Supp. 2d 944, 950 (E.D. Cal. 2005).
  19         B.      Standard for Sanctions under the Inherent Powers of the Court
  20         A federal court may “resort to its inherent power to impose attorney’s fees as
  21   a sanction for bad-faith conduct”—whether or not that conduct could also be
  22   sanctioned under Rule 11—to deter improper litigation conduct. Chambers v.
  23   NASCO, Inc., 501 U.S. 32, 50, 111 S. Ct. 2123, 115 L. Ed. 2d 27 (1991). An
  24   attorney’s reckless misstatements of law and fact, when coupled with an improper
  25   purpose, such as an attempt to influence or manipulate proceedings in one case in
  26   order to gain tactical advantage in another case, are sanctionable under
  27   a court’s inherent power. Fink v. Gomez, 239 F.3d 989, 993–94 (9th Cir. 2001) see
  28   also B.K.B. v. Maui Police Dep’t, 276 F.3d 1091, 1107–08 (9th Cir. 2002)
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   1   (attorney’s knowing and reckless introduction of inadmissible evidence was
   2   tantamount to bad faith and warranted sanctions under § 1927 and the court’s
   3   inherent power).
   4         C.     Standard for Sanctions under the Local Rules
   5         Local Rule 83-3.1.2 provides that “in order to maintain the effective
   6   administration of justice and the integrity of the Court,” each attorney must comply
   7   with the Rules of Professional Conduct of the State Bar of California, the State Bar
   8   Act, together with “the decisions of any court applicable thereto.” The California
   9   Rules of Professional Conduct provide that members “shall not [¶] knowingly make
  10   a false statement of fact or law to a tribunal or fail to correct a false statement of
  11   material fact or law previously made to the tribunal by the lawyer.” Cal. R. Prof.
  12   Conduct 3.3(a)(1). Local Rule 83-7 provides that the Court may impose
  13   monetary sanctions “if the Court finds that the conduct was willful, grossly
  14   negligent, or reckless.”
  15   IV.   ARGUMENT
  16         Tauler filed the Complaint with frivolous allegations that had not been
  17   supported by reasonable inquiry and were brought for the purpose of getting an
  18   unfair advantage with respect to the Photo Agencies’ infringement claims. When
  19   informed of the baselessness of the allegations, Tauler doubled down by filing the
  20   First Amended Complaint, which equally lacks evidentiary support and was also
  21   brought for an improper purpose.7
  22   ///
  23   ///
  24   ///
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  26
  27   7
         The initial Complaint alleged additional state law claims that were preempted and subject
       to an anti-SLAPP motion, for which Tauler was given notice. (Perkowski Decl. Ex. A.)
  28   Presumably he dropped the state law claims for these reasons.
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   1         A.     Tauler’s Specific Allegations that Lacked a Reasonable Inquiry and
   2                Evidentiary Support
   3          False Allegation Lacking Reasonable Inquiry and Evidentiary Support:
   4                             Nicolini Failed to Review Fair Use
   5         On July 9, 2020, Nicolini told Tauler that Nicolini considered whether fair use
   6   would apply to ENTtech’s infringements before causing DMCA takedown notices to
   7   be sent. (Nicolini Decl. ¶¶ 6, 7.) Specifically, Nicolini told Tauler that he personally
   8   reviewed each infringement for fair use prior to issuing a DMCA notice. Tauler has
   9   no information that Nicolini did not personally review each infringement prior to
  10   issuing the DMCA notice. Further, had Tauler reviewed ENTtech’s infringements
  11   himself, he would have seen that fair use is not a plausible legal argument for any of
  12   the 34 unauthorized uses. Rather, the infringing photos were posted on Instagram, in
  13   their entirety, with minimal commentary, lacking any sort of transformation, and
  14   directly competing with the licensees of the Photo Agencies. (Nicolini Decl. Ex. A.)
  15   Tauler would have no non-frivolous basis to contend that fair use applies here and
  16   certainly no inquiry supporting the notion that Nicolini did not review the
  17   infringement.
  18         There is no question that Tauler had access to screenshots of the infringements
  19   and/or the infringing photos and additional critical information that he did not
  20   review or simply ignored. On July 8, 2020, Nicolini sent a detailed spreadsheet to
  21   ENTtech’s CEO Tom Florio and its Executive Vice President of Audience
  22   Development Lily Kwong. (Nicolini Decl. ¶ 8.) The spreadsheet provided detail for
  23   every alleged infringement: each infringement’s page URL (that is, where the
  24   infringement was located on the Internet); each infringement’s image URL (where
  25   the image was stored on the Internet); a unique URL where a copy of the photograph
  26   owned by the Photo Agencies could be accessed; a unique Image ID; the name of
  27   the copyright owner (i.e., the Photo Agency); the copyright registration certificate
  28   number, if available; the copyright registration application number, if available; the
                                           7
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   1   photograph’s date of first publication; the date of the unauthorized use; and the date
   2   Okularity discovered the infringement. (Nicolini Decl. Ex. B.)
   3         Then, Nicolini also sent to Mr. Florio and Ms. Kwong, using WeTransfer,
   4   files containing copies or screenshots of the photographs that were used without
   5   authorization.8 (Nicolini Decl. ¶ 8, Ex. C.) In the data transfer, Nicolini included 29
   6   screenshots along with a summary PDF containing most of the Instagram usages.
   7   Within hours of the transfer, the WeTransfer application notified Nicolini that both
   8   Mr. Florio and Ms. Kwong had downloaded all the files. (Nicolini Decl. ¶ 8, Ex. C.)
   9         In their discussions, Tauler and Nicolini both referenced the spreadsheet and
  10   the WeTransfer files multiple times, so there is no doubt that Tauler had this
  11   information. (Nicolini Decl. ¶ 8.)
  12         Despite receipt of this information and lacking any good faith basis, Tauler
  13   alleged the following in the First Amended Complaint:
  14             • “Okularity does this [sends DMCA takedown notices] without any of
  15                the investigation, warning, or legal analysis required by the DMCA … ”
  16                (FAC ¶ 15.)9
  17             • “However, since the DMCA Notices are automatically generated and
  18                submitted without any attorney supervision, Okularity does not engage
  19                in any analysis prior to generating and filing DMCA takedown notices
  20                as it should.” (FAC ¶ 27.)
  21             • “Defendants [sic] misconduct includes its failure to take into
  22                consideration ‘fair use’ as a defense to their alleged claims.” (FAC
  23                ¶ 40.)
  24             • “Not only did Defendants fail to consider fair use []” (FAC ¶ 41.)
  25
  26   8
         WeTransfer is an internet-based computer file transfer application that allows the sending
  27   of large data files.
       9
         Notably, the DMCA does not require any “warning” before sending a takedown notice. See
  28   generally 17 U.S.C. § 512 (establishing and describing DMCA takedown process).
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   1             • “When Okularity … submitted the DMCA notices to Instagram …
   2                Nicolini knew (and thus, Okularity and all of its principals also knew)
   3                that no ‘good faith’ basis existed for believing that Plaintiff’s uses of
   4                the images were unauthorized.” (FAC ¶ 51.)
   5             • “Rather, the Defendants all knew that the notices were based solely on
   6                the results of a software application created to scan the internet for
   7                copies of images in which copyrights had been claimed – without any
   8                inquiry (much less, a good faith inquiry) into whether the uses of those
   9                images were “authorized by the copyright owner, its agent, or the law.”
  10                (FAC ¶ 51.)
  11          False Allegation Lacking Reasonable Inquiry and Evidentiary Support:
  12                       Okularity Sent Notices by Automated System
  13         On July 14, 2020, Nicolini told Tauler that none of the 35 DMCA takedown
  14   notices at issue in this case were sent to Instagram by a fully automated system.
  15   Instead, as Nicolini informed Tauler, Nicolini himself reviewed each one and caused
  16   it to be sent to Instagram. (Nicolini Decl. ¶¶ 6, 7.) Tauler has no basis to contest
  17   Nicolini’s representation. Tauler did not even make this allegation “on information
  18   and belief,” which too would not have had a reasonable factual basis because he has
  19   no basis for such information or belief.
  20         Despite receipt of this information and lacking any good faith basis, Tauler
  21   alleged the following in the First Amended Complaint:
  22             • “Through its proprietary software, Okularity automatically generates
  23                and submits DMCA Notices to any social media platform, including
  24                Instagram, containing an Image in Okularity’s database.” (FAC ¶ 15.)
  25             • “Okularity does this without any of the investigation, warning, or legal
  26                analysis required by the DMCA … ” (FAC ¶ 15.)
  27             • “By automatically generating and submitting DMCA Notices, Okularity
  28                has failed to follow the terms of the DMCA.” (FAC ¶ 17.)
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   1             • “However, since the DMCA Notices are automatically generated and
   2                submitted without any attorney supervision, Okularity does not engage
   3                in any analysis prior to generating and filing DMCA takedown notices
   4                as it should.” (FAC ¶ 27.)
   5         False Allegation Lacking Reasonable Inquiry and Evidentiary Support:
   6                 Okularity Made an Extortionate Demand of $4.6 Million
   7         Nicolini’s initial communication with Tauler stated that he did not have
   8   settlement authority but noted that the “maximum” exposure ENTtech could face
   9   would be the statutory damages maximum for willful infringement. (Nicolini Decl.
  10   ¶ 10.) This is clear from the images contained in the FAC itself, which includes an
  11   email where Nicolini stated that the infringements “could fetch up to $150,000 [per
  12   infringement], for a total of $4.65 million.” (FAC ¶ 30.) No one demanded $4.6
  13   million, even though that amount was authorized by Title 17.
  14         Despite receipt of this e-mail message and lacking any good faith basis,
  15   Tauler alleged the following in the First Amended Complaint:
  16             • “Plaintiff’s CEO immediately contacted Defendants, and was faced
  17                with the extortionate demand of $4.6 million dollars …” (FAC ¶ 23.)
  18         Significantly, this mistruth was one of the “predicate acts” for which ENTtech
  19   bases its RICO claim. (FAC ¶¶ 23, 46.)
  20          False Allegation Lacking Reasonable Inquiry and Evidentiary Support:
  21   Defendants Engaged in a Scheme to Deprive ENTtech of Its Instagram Account and
  22                       Did So by Issuing Fraudulent DMCA Notices
  23         As demonstrated by the information above, Okularity had a good faith basis to
  24   send the DMCA takedown notices. (See Nicolini Decl., ¶¶ 6, 7, Exs. B, C.) They
  25   were sent after a review for fair use. (See Nicolini Decl., ¶¶ 6, 7.) And Nicolini
  26   caused them to be sent individually, not automatically. Id.
  27         Tauler was aware of all of this information, yet he alleged that the DMCA
  28   notices were “fraudulent” and were part of a “scheme.” The “scheme,” of course, is
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   1   not a scheme at all. It is a statutory process created by Congress: The DMCA
   2   prescribes the issuing of takedown notices (by an owner or agent) and if the notices
   3   accumulate to the extent that the ISP determines the user has violated its repeat
   4   infringer policy, the user is terminated. 17 U.S.C. § 512(i). That is what happened
   5   here.
   6           Despite knowledge of these circumstances, Tauler alleged the following:
   7              • “Defendants (1) are engaged in a scheme to deprive Plaintiff of its
   8                 digital assets through a pattern of fraudulent statements made in DMCA
   9                 Notices …” (FAC ¶ 18.)
  10              • “Okularity sent fraudulent notices to Instagram …” (FAC ¶ 50.)
  11              • “improper DMCA notices” (FAC ¶ 52.)
  12           False Allegation Lacking Reasonable Inquiry and Evidentiary Support:
  13                           Defendants Sent 48 Takedown Notices
  14           Okularity issued only 35 DMCA notices to Instagram regarding ENTtech’s
  15   account. For the reasons stated above, Tauler knew of the true number of DMCA
  16   takedown notices, as he even filed precisely the same number of counternotifications
  17   to Instagram. (See Ex. D.) Nevertheless, Tauler alleged that there were 48 takedown
  18   notices when there were not.
  19              • “It was only after Okularity filed forty-eight (48) DMCA take-down
  20                 notices against Paper that Instagram disabled Paper’s account.” (FAC
  21                 ¶ 29.)
  22              • “On at least 48 instances in 2019 and 2020 Defendants willfully,
  23                 knowingly and materially made third-party §512(f) misrepresentations
  24                 to Instagram stating that Plaintiff's images, some over three years old,
  25                 were infringing intellectual property rights owned by one of the
  26                 Clearinghouse Defendants.” (FAC ¶ 37.)
  27   ///
  28   ///
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   1              False Allegation Lacking Reasonable Inquiry and Evidentiary Support:
   2    Inconsistent Statements about Whether Okularity Was the Photo Agencies’ Agent
   3         Tauler makes inconsistent statements that he is not aware whether Okularity is
   4   the agent of the Photo Agencies and that Okularity is the agent of the Photo
   5   Agencies. Both statements cannot be true. (Compare FAC ¶ 41(“clear that Okularity
   6   has any right to send DMCA notices on behalf of Backgrid, Splash or Xposure”),
   7   with FAC ¶ 51 (“Okularity (acting through Nicolini), submitted the DMCA notices
   8   to Instagram [] on behalf of their principals [the Photo Agencies].”).) Since one of
   9   these allegations must be false, Tauler lacked a good-faith basis in making it.
  10          False Allegation Lacking Reasonable Inquiry and Evidentiary Support:
  11   Agency Defendants filed a separate lawsuit “purposely without regard to the truth or
  12   falsity of the allegation that any of Plaintiff’s uses of the photographs was prohibited
  13                                            by law”
  14         Tauler alleged that when the Agency Defendants filed their lawsuit against
  15   ENTtech that they did so “purposely without regard to the truth or falsity of the
  16   allegation that any of Plaintiff’s uses of the photographs was prohibited by law.”
  17   (FAC ¶ 53.) This is untrue. As discussed above, the infringements were not fair use
  18   and there was no other reason why ENTtech should be allowed to use the Agency’s
  19   photographs (and Tauler alleges no such reason). There is no good-faith basis to say
  20   the lawsuit was filed without regard to the truth or falsity of the allegations that the
  21   Photos were prohibited by law.
  22         B.      Without Reasonable Inquiry and Factual Basis Supporting Key
  23                 Allegations, ENTtech’s Claims Are Wholly Frivolous, Without
  24                 Evidentiary Support, and Sanctionable Under Rule 11 and the
  25                 Court’s Inherent Authority.
  26         Tauler filed a First Amended Complaint that had two causes of action:
  27   Misrepresentation of DMCA notices under 17 U.S.C. § 512(f) and RICO. Both of
  28   these claims are frivolous because key factual allegations on which they are based,
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   1   as discussed above, are not objectively reasonable and because there was no
   2   reasonable inquiry into the same. No reasonable attorney, presented with the
   3   information made available to Tauler, would conclude that there was a factual basis
   4   for the allegations made in the FAC.
   5         DMCA Misrepresentation claim: ENTtech contends that Defendants failed to
   6   “take into consideration ‘fair use’ as a defense to their alleged claims.” (FAC ¶ 40.)
   7   As discussed above, this allegation is objectively unreasonable because he lacks
   8   evidentiary support. Tauler had no basis to say that Okularity did not consider fair
   9   use; in fact, he was told the opposite. Further, ENTtech alleges that “they never sent
  10   any demand letter to Plaintiff until after Instagram disabled Plaintiff’s account.”
  11   (FAC ¶ 41.) A demand letter is not necessary under the DMCA. See 17 U.S.C.§ 512.
  12   These unsupported allegations could never amount to a DMCA § 512(f) claim and
  13   no reasonable lawyer would conclude that there was a misrepresentation. Tauler has
  14   no colorable DMCA misrepresentation claim; he manufactured one to create an
  15   offense to the Photo Agencies infringement claims against ENTtech.
  16         Moreover, with respect to the Photo Agencies, ENTtech contends that is it
  17   both not “clear that Okularity has any right to send DMCA notices on behalf of
  18   Backgrid, Splash or Xposure” (FAC ¶ 41) and that “Okularity (acting through
  19   Nicolini), submitted the DMCA notices to Instagram [] on behalf of their principals
  20   [the Photo Agencies].” (FAC ¶ 51.) Both statements cannot be true. No reasonable
  21   attorney would make these two contradictory allegations to the Court.
  22         RICO claim: ENTtech cannot say that it is a victim to a “scheme” to defraud it
  23   of its Instagram account when ENTtech is a serial and repeat infringer and lost its
  24   Instagram account because it was deemed the same by Instagram. ENTtech is the
  25   bad actor here, for repeatedly using the Photo Agencies’ copyrighted images without
  26   authorization. Defendants sought to vindicate their important intellectual property
  27   rights by sending valid DMCA takedown notices. There is no evidentiary support for
  28   either fraud-based predicate acts or extortionate ones. Thus, there is no objective
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   1   basis to say that Defendants had a “scheme to defraud and extort” when all they did
   2   was follow the law. ENTtech cannot and has not made a single supported allegation
   3   of unlawful conduct, and so the RICO claim is wholly baseless and frivolous.
   4         As discussed above, the key underlying facts to these claims were refuted and
   5   not otherwise inquired about by Tauler. These claims then are grievances regarding
   6   the existing law codified in 17 U.S.C. § 512, not about Defendants’ actions.
   7         C.     Tauler Has Been Subject to Rule 11 Sanctions Before for Failure to
   8                Make a Reasonable Inquiry and Has Been Called Out for Bringing
   9                a RICO Claim for an Improper Purpose.
  10         In Certified Nutraceuticals, 2018 WL 4385368 at *6-7, the district court for
  11   the Southern District of California sanctioned Tauler for failing to make a reasonable
  12   inquiry into his allegations. In that case, Tauler falsely alleged that his client was the
  13   assignee to a patent even though he “admitted that at the time the Complaint was
  14   filed, he was aware that FCEI (i.e., not Mr. Alkayali) was listed as the assignee of
  15   the '319 Patent” and was on further notice of the same when the defendant in that
  16   case filed an answer stating the same.” He admitted at the hearing he did not know
  17   whether his client was the assignee “either way,” but it did not stop him from filing a
  18   declaration that said his client was the assignee. Id. at *7. This frivolous position
  19   ultimately got him sanctioned in the Southern District of California.
  20         Since Certified Nutraceuticals, Tauler has confronted another Rule 11 motion
  21   but escaped. In re Outlaw Laboratory, LP Litigation, 2019 WL 3858900, at *6 (S.D.
  22   Cal. Aug. 15, 2019), the Court ultimately decided Tauler’s conduct was not
  23   sanctionable but noted the following about Tauler’s behavior in Certified
  24   Nutraceuticals: “while disturbing, the Court is unwilling, at this juncture, to weigh
  25   Mr. Tauler’s conduct in the Certified Nutraceuticals against him or consider it as
  26   evidence of a larger pattern of sanctionable behavior.” Id.
  27         Judge Birotte, in this District, warned Tauler of Rule 11 when Tauler Smith
  28   LLP (as plaintiff) brought a RICO claim against a former business associate. Judge
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   1   Birotte stated in his order granting judgment on the pleadings with respect to
   2   Tauler’s RICO claim: “[t]his seems to be a business relationship that ended poorly,
   3   not a criminal enterprise's continuing pattern of racketeering activity that threatens
   4   the public. The Court tends to agree that ‘by appearances’ the RICO claim was
   5   added for an ‘improper purpose.’ Fed. R. Civ. P. 11(b)(1).” Tauler Smith LLC v.
   6   Valerio, 20-cv-00458 AB (ASx), 2020 WL 1921789 (C.D. Cal. Mar. 6, 2020).
   7         D.      Rule 11 Sanctions Are Appropriate because the FAC Is Frivolous
   8                 and Designed with an Improper Purpose.
   9         The facts demonstrate that Tauler was informed of evidence that contradicts
  10   the allegations in this Complaint, failed to make a reasonable inquiry into the same,
  11   all while bringing the claims for an improper purpose. Rather than paint a truthful
  12   picture, Tauler chose to allege that the Defendants engaged in a criminal-like scheme
  13   to defraud ENTtech. Tauler intentionally filed a Complaint contending that
  14   Defendants had unlawfully filed unjustified DMCA takedown notices with
  15   Instagram as a pattern and practice to extort ENTtech. This assertion, however, lacks
  16   any connection to the reality of the underlying facts. Defendants took active steps to
  17   demonstrate that the Photo Agencies were protecting their copyrighted materials in
  18   good faith.
  19         Given the dearth of evidentiary support and the clear notice given to Tauler,
  20   the Complaint is wholly frivolous, and the conclusion must be that it was designed
  21   for an improper purpose. “The central purpose of Rule 11 is to deter baseless
  22   filings.” Cooter & Gell, 496 U.S. at 393. Sanctions are appropriate—indeed, “must
  23   be imposed”—when the paper is either frivolous or filed for an improper purpose.
  24   Townsend v. Holman Consulting Corp., 929 F.2d 1358, 1362 (9th Cir. 1990).
  25   “Frivolous” means “a filing that is both baseless and made without a reasonable and
  26   competent inquiry,” whether partially or in the entirety. Id. at 1358, 1364-65. The
  27   standard is one of objective reasonableness. Altmann v. Homestead Mortg. Income
  28   Fund, 887 F. Supp. 2d 939, 955 (E.D. Cal. 2012).
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   1         The Court may impose both monetary and non-monetary sanctions for the
   2   violations of Rule 11. See Fed R. Civ. P. 11(c)(2); Truesdell v. S. Cal. Permanente
   3   Med. Grp., 209 F.R.D. 169, 175 (C.D. Cal. 2002). The Court should impose
   4   sanctions sufficient “to deter repetition of such conduct or comparable conduct by
   5   others similarly situated.” Fed. R. Civ. P. 11(c)(4). Plaintiff made no objectively
   6   reasonable and independent inquiry to determine whether the serious allegations
   7   against Defendants were well grounded in fact or law. Had Tauler done so, ENTtech
   8   could not have sued. Truesdell, 293 F.3d at 1153-54 (upholding sanctions when
   9   complaint “stated allegations … that Plaintiff’s counsel must have known were
  10   false”; allegations were “at best, disingenuous … when all along counsel had
  11   personal knowledge” of facts that disproved the allegations).
  12         Rule 11 requires that counsel have in hand sufficient credible information (as
  13   opposed to speculation) to enable an objectively reasonable attorney to form the
  14   belief that the allegations to which he put his name are supported by evidence.
  15   Tauler did not, as no such evidence exists. And Tauler made the allegations in the
  16   face of information Okularity provided to Tauler that contradicted the false
  17   allegations contained in the filed complaint. Because Tauler filed a complaint with
  18   factual contentions for which there is no evidentiary support, the Court should
  19   sanction both Robert Tauler and Tauler Smith LLP. See Fed. R Civ. P. 11(c)(1)
  20   (providing court may impose sanctions “on any attorney, law firm, or party that
  21   violated the rule or is responsible for the violation” and that “[a]bsent exceptional
  22   circumstances, a law firm must be held jointly responsible for a violation committed
  23   by its partner, associate, or employee”).
  24         E.     Sanctions under the Court’s Inherent Power Are Also Appropriate
  25         As discussed above, Tauler alleged critical facts to ENTtech’s causes of action
  26   against Defendants without factual basis or investigation, rendering the DMCA
  27   claim and the RICO claim frivolous and not warranted by law. The purpose of these
  28   claims was to gain an advantage in the copyright infringement claims to which
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   1   ENTtech and Tauler were on notice. Moreover, the purpose was to create leverage to
   2   get ENTtech’s Instagram account reinstated, which was taken down because
   3   Instagram deemed ENTtech a repeat infringer under its Terms of Use. In re Itel
   4   Securities Litigation, 791 F.2d 672, 675 (9th Cir. 1986) (sanctions are justified when
   5   a party acts for an improper purpose—even if the act consists of making a truthful
   6   statement or a non-frivolous argument or objection. The improper purpose was the
   7   attempt to gain tactical advantage in another case). Such bad faith is sufficient to
   8   justify sanctions under the Court’s inherent power.
   9         F.     Sanctions Are Also Appropriate under the Local Rules
  10         The factual and legal positions taken by Tauler on behalf of his client are not
  11   just inconsistent with the truth, but also seek to mislead the court with a false
  12   statement of facts, as described above. See supra Section IV.A. The numerous
  13   misstatements that make up the substance of these claims were clearly incorrect to
  14   Tauler, who pursued them anyway, willfully or at least recklessly. As such, under
  15   Cal. R. Prof. Conduct 3.3(a)(1) and the Local Rules, the Court should impose
  16   sanctions.
  17         G.     Sanctions Should Also Issue for ENTtech’s False Proof of Service
  18                with Respect to Splash News and Picture Agency LLC
  19         ENTtech served the wrong entity. It attempted to serve Splash News and
  20   Picture Agency LLC at the agent for service of process for Splash News & Picture
  21   Agency LLC, a different entity. (Ardalan Decl., ¶¶ 2-4, Ex. A-D.) On or around
  22   July 23, 2020, the agent for service of process for Splash News & Picture Agency
  23   notified Tauler that the service was rejected. (Ardalan, Decl. Ex. C.) On August 8,
  24   2020 Tauler filed a proof of service claiming Splash was served. (Dkt. 17.) Ardalan
  25   notified Tauler that Splash, defendant in this case, was never served. Ardalan Decl.,
  26   ///
  27   ///
  28   ///
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   1   ¶¶ 2-4, Ex. B, D. 10 Tauler claimed he would investigate what happened, but did
   2   nothing to correct the record, although the Court struck the proof of service because
   3   it failed to comply with the Local Rules. (Ardalan Decl., ¶ 2.) In a separate action
   4   filed by the Photo Agencies against ENTtech, on August 25, ENTtech asked that
   5   court to take judicial notice of the Proof of Service filed with respect to Splash. See
   6   Backgrid et al. v. ENTtech, 2:20-cv-06803-RSWL (Dkt. 24, footnote 3.); (Ardalan
   7   Decl., ¶ 5.) Such a blatant misrepresentation to the Court is also sanctionable.
   8   V.    CONCLUSION
   9         The circumstances here demonstrate that Tauler filed a First Amended
  10   Complaint that is factually and legally deficient under Rule 11, the California Rules
  11   of Professional Conduct, and the Local Rules of the Central District of California.
  12   He did so despite knowing that the facts were contrary to the allegations he was
  13   making in the pleading, and also despite being put on notice as to the baseless—and
  14   sanctionable—nature of his actions. (See Perkowski Decl. Ex. A.)
  15   ///
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         The service date became significant because Tauler refused to provide any
       extension to Splash and by the time the proof of service was filed and Splash saw the
  26   misleading proof of service, Splash only had six days to meet and confer for its
       motion to dismiss. (Ardalan Decl., ¶ 2.) Tauler refused to grant any courtesy with
  27   respect to shortening the meet and confer time allowance under 7-3 or agreeing to an
       extension of time to respond, which Splash requested to avoid the intervention of the
  28   Court.
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   1         Okularity and the Photo Agencies respectfully request that this Court issue
   2   sanctions under Rule 11, the Court’s inherent power, and the Local Rules, in the
   3   amount of fee’s spent by Defendants to date, and in striking the frivolous factual and
   4   legal allegations of the First Amended Complaint.
   5
   6   Dated: September 25, 2020              PERKOWSKI LEGAL, PC
   7
                                              By: /s/Peter E. Perkowski
   8                                              Peter E. Perkowski
   9
                                                  Attorneys for Defendants
  10                                              Okularity, Inc. and Jon Nicolini
  11
  12   Dated: September 25, 2020              ONE LLP
  13
                                              By: /s/ Joanna Ardalan
  14                                              Joanna Ardalan
                                                  David Quinto
  15                                              Peter Afrasiabi
  16
                                                  Attorneys for Defendants BackGrid USA,
  17                                              Inc., Splash News and Picture Agency,
                                                  LLC, and Xposure Photo Agency, Inc.
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